Fill in this information to identify the case:

Debtor 1          Williams, Samuel

Debtor 2          Williams, Gloria                                                                                      [ ] Check if this is an amended
(Spouse, if filing)                                                                                                          plan, and list below the
                                                                                                                             sections of the plan that
United States Bankruptcy Court for the Northern District of                                                                  have been changed.
Ohio, Akron Division

Case Number
(If known)




Official From 113
Chapter 13 Plan                                                                                                                               12/17


Part 1:      Notices

To Debtors:            This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
                       indicate that the option is appropriate in your circumstances or that it is permissible in your judicial district. Plans that do not
                       comply with local rules and judicial rulings may not be confirmable.

                       In the following notice to creditors, you must check each box that applies.

To Creditors:          Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

                       You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have an
                       attorney, you may wish to consult one.

                       If you oppose the plan’
                                             s treatment of your claim or any provision of this plan, you or your attorney must file a timely written objection to
                       confirmation. The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is filed. See Bankruptcy
                       Rule 3015 and LR Rule 3083-1(D) and (E). In addition, you must have a filed and allowed proof of claim in order to be paid under any
                       plan.

                       The following matters may be of particular importance. Debtors must check one box on each line to state whether or not the plan
                       includes each of the following items. If an item is checked as “Not Included”or if both boxes are checked, the provision will
                       be ineffective if set out later in the plan.

 1.1      A limit on the amount of a secured claim, set out in Part 3.2, which may result in a partial               [X] Included        [ ] Not included
          payment or no payment at all to the secured creditor

 1.2      Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set out                [ ] Included        [X] Not included
          in Section 3.4

 1.3      Nonstandard provisions, set out in Part 8                                                                  [ ] Included        [X] Not included

Part 2:      Plan Payments and Length of Plan

2.1 Debtor(s) will make regular payments to the trustee as follows:

       $ 1,547.00 per month for 33 months

       If fewer than 60 months of payments are specified, additional monthly payments will be made to the extent necessary to make the payments to creditors
       specified in this plan.

2.2 Regular payments to the trustee will be made from future income in the following manner:
    Check all that apply.
    [ ] Debtor(s) will make payments pursuant to a payroll deduction order.
    [ ] Debtor(s) will make payments directly to the trustee.
    [ ] Other (specify method of payment):                        .

2.3 Income tax refunds.
    Check one.



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     [X] Debtor(s) will retain any income tax refunds received during the plan term.
     [ ] Debtor(s) will supply the trustee with a copy of each income tax return filed during the plan term within 14 days of filing the return and will turn over to
          the trustee all income tax refunds received during the plan term.
     [ ] Debtor(s) will treat income tax refunds as follows:


2.4 Additional payments.
    Check one.

     [X] None. If “
                  None”is checked, the rest of § 2.4 need not be completed or reproduced.


2.5 The total amount of estimated payments to the trustee provided for in §§ 2.1 and 2.4 is $ 51,051.00.

Part 3:    Treatment of Secured Claims

3.1 Maintenance of payments and cure of default, if any.
     Check one.

     [X] None. If “
                  None”is checked, the rest of § 3.1 need not be completed or reproduced.

3.2 Request for valuation of security, payment of fully secured claims, and modification of undersecured claims. Check one.

     [ ] None. If “
                  None”is checked, the rest of § 3.2 need not be completed or reproduced.

     The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.

     [X] The debtor(s) request that the court determine the value of the secured claims listed below. For each non-governmental secured claim listed below,
          the debtor(s) state that the value of the secured claim should be as set out in the column headed Amount of secured claim. For secured claims of
          governmental units, unless otherwise ordered by the court, the value of a secured claim listed in a proof of claim filed in accordance with the
          Bankruptcy Rules controls over any contrary amount listed below. For each listed claim, the value of the secured claim will be paid in full with interest
          at the rate stated below.

          The portion of any allowed claim that exceeds the amount of the secured claim will be treated as an unsecured claim under Part 5 of this plan. If the
          amount of a creditor’s secured claim is listed below as having no value, the creditor’
                                                                                               s allowed claim will be treated in its entirety as an unsecured
          claim under Part 5 of this plan. Unless otherwise ordered by the court, the amount of the creditor’s total claim listed on the proof of claim controls over
          any contrary amounts listed in this paragraph.

              The holder of any claim listed below as having value in the column headed Amount of secured claim will retain the lien on the property interest of
              the debtor(s) or the estate(s) until the earlier of:

              (a) payment of the underlying debt determined under nonbankruptcy law, or
              (b) discharge of the underlying debt under 11 U.S.C.§ 1328, at which time the lien will terminate and be released by the creditor.

Name of creditor       Estimated        Collateral               Value of        Amount of     Amount of     Interest             Monthly           Estimated
                       amount of                                 collateral      claims senior secured claim rate                 payment to        total of
                       creditor’ s                                               to creditor’
                                                                                            s                                     creditor          monthly
                       total claim                                               claim                                                              payments
Regional Finance       20,880.00        2013 Ford Explorer 2WD       7,732.00             0.00           499.00         6.75%            251.73           503.46
Corp                                    FFV



3.3 Secured claims excluded from 11 U.S.C. §506.
    Check one.

     [ ] None. If “
                  None”is checked, the rest of § 3.3 need not be completed or reproduced.

     [X] The claims listed below were either:

     (1) incurred within 910 days before the petition date and secured by a purchase money security interest in a motor vehicle acquired for the personal use
     of the debtor(s), or

     (2) incurred within 1 year of the petition date and secured by a purchase money security interest in any other thing of value.

     These claims will be paid in full under the plan with interest at the rate stated below. These payments will be disbursed either by the trustee or directly by
     the debtor(s), as specified below. Unless otherwise ordered by the court, the claim amount stated on a proof of claim filed before the filing deadline under
     Bankruptcy Rule 3002(c) controls over any contrary amount listed below. In the absence of a contrary timely filed proof of claim, the amounts stated
     below are controlling. The final column includes only payments disbursed by the trustee rather than by the debtor(s).



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Name of creditor                              Collateral                                    Amount of          Interest rate    Monthly plan       Estimated total
                                                                                            claim                               payment            payments by
                                                                                                                                                   trustee
Select Portfolio Svcin                                                                         245,601.00             0.00%              474.00                948.00

                                                                                                                                Disbursed by:
                                                                                                                                [X] Trustee
                                                                                                                                [ ] Debtor(s)
3.4 Lien avoidance.

      Check one.

      [X] None. If “
                   None”is checked, the rest of § 3.4 need not be completed or reproduced.

3.5 Surrender of collateral.
    Check one.

      [X] None. If “
                   None”is checked, the rest of § 3.5 need not be completed or reproduced.


Part 4:    Treatment of Fees and Priority Claims

4.1 General

      Trustee’s fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.5, will be paid in full without
      postpetition interest.

4.2   Trustee’
             s fees

      Trustee’s fees are governed by statute and may change during the course of the case but are estimated to be 10.00% of plan payments; and during the
      plan term, they are estimated to total $5,105.10.

4.3 Attorney’
            s fees

      The balance of the fees owed to the attorney for the debtor(s) is estimated to be $ 0.00.

4.4   Priority claims other than attorney’
                                         s fees and those treated in § 4.5.

      Check one.

      [ ] None. If “
                   None”is checked, the rest of § 4.4 need not be completed or reproduced.

      [X] The debtor(s) estimate the total amount of other priority claims to be
                                                                               787.00.


4.5 Domestic support obligations assigned or owed to a governmental unit and paid less than full amount.
    Check one.

      [X] None. If “
                   None”is checked, the rest of Part 4.5 need not be completed or reproduced.


Part 5:    Treatment of Nonpriority Unsecured Claims

5.1 Nonpriority unsecured claims not separately classified.

      Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata. If more than one option is checked, the option providing the
      largest payment will be effective. Check all that apply.

      [ ] The sum of $             .
      [ ]           % of the total amount of these claims. An estimated payment of $
      [ ] The funds remaining after disbursements have been made to all other creditors provided for in this plan.

           If the estate of the debtor(s) were liquidated under chapter 7, nonpriority unsecured claims would be paid approximately $ 0.00. Regardless of the
           options checked above, payments on allowed nonpriority unsecured claims will be made in at least this amount.



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5.2 Maintenance of payments and cure of any default on nonpriority unsecured claims. Check one.

     [ ] None. If “
                  None”is checked, the rest of Part 5.2 need not be completed or reproduced.

     [X] The debtor(s) will maintain the contractual installment payments and cure any default in payments on the unsecured claims listed below on which the
     last payment is due after the final plan payment. These payments will be disbursed either by the trustee or directly by the debtor(s), as specified below.
     The claim for the arrearage amount will be paid in full as specified below and disbursed by the trustee. The final column includes only payments
     disbursed by the trustee rather than by the debtor(s).

Name of creditor                                                             Current installment         Amount of arrearage to Estimated total
                                                                             payment                     be paid                payments by trustee


                                                                             Disbursed by:
                                                                             [ ] Trustee
                                                                             [ ] Debtor(s)
5.3 Other separately classified nonpriority unsecured claims. Check one.

     [X] None. If “
                  None”is checked, the rest of § 5.3 need not be completed or reproduced.


Part 6:   Executory Contracts and Unexpired Leases

6.1 The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory contracts and
    unexpired leases are rejected. Check one.

     [X] None. If “
                  None”is checked, the rest of § 6.1 need not be completed or reproduced.


Part 7:   Vesting of Property of the Estate

7.1 Property of the estate will vest in the debtor(s) upon

     Check the applicable box:

     [X] plan confirmation
     [ ] entry of discharge.
     [ ] other:

Part 8:   Nonstandard Plan Provisions

8.1 Check “None”or List Nonstandard Plan Provisions

     [X] None. If “
                  None”is checked, the rest of Part 8 need not be completed or reproduced.

Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in the Official
Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are ineffective.

The following plan provisions will be effective only if there is a check in the box “Included”in Part 1.3.



Part 9:   Signature(s):

9.1 Signatures of Debtor(s) and Debtor(s)’Attorney

If the Debtor(s) do not have an attorney, the Debtor(s) must sign below; otherwise the Debtor(s) signatures are optional. The attorney for the Debtor(s), if any,
must sign below.



/s/ Samuel Williams                                                                 /s/ Gloria Williams
Signature of Debtor 1                                                               Signature of Debtor 2



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Executed on June 2, 2019                                                     Executed on June 2, 2019

/s/ Charles Tyler                                                            Date: June 2, 2019
Signature of Attorney for Debtor(s)


By filing this document, the Debtor(s), if not represented by an attorney, or the Attorney for Debtor(s) also certify(ies) that the wording and order
of the provisions in this Chapter 13 plan are identical to those contained in Official Form 113, other than any nonstandard provisions included in
Part 8.




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Exhibit: Total Amount of Estimated Trustee Payments
     The following are the estimated payments that the plan requires the trustee to disburse. If there is any difference between the
     amounts set out below and the actual plan terms, the plan terms control.

a. Maintenance and cure payments on secured claims (Part 3, Section 3.1 total)                               $ 0.00

b. Modified secured claims (Part 3, Section 3.2 total)                                                       $ 0.00

c. Secured claims excluded from 11 U.S.C. § 506 (Part 3, Section 3.3 total)                                  $ 0.00

d. Judicial liens or security interests partially avoided (Part 3, Section 3.4 total)                        $ 0.00

e. Fees and priority claims (Part 4 total)                                                                   $ 5,892.10

f. Nonpriority unsecured claims (Part 5, Section 5.1, highest stated amount)                                 $ 43,707.44

g. Maintenance and cure payments on unsecured claims (Part 5, Section 5.2 total)                             $ 0.00

h. Separately classified unsecured claims (Part 5, Section 5.3 total)                                        $ 0.00

i. Trustee payments on executory contracts and unexpired leases (Part 6, Section 6.1 total)                  $ 0.00

j. Nonstandard payments (Part 8, total)                                                                  +   $ 0.00


     Total of lines a through j                                                                              $ 51,051.00




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